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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 MICHAEL V. MCMAKEN, on behalf of the
 Chemonics International, Inc. Employee
 Stock Ownership Plan, and on behalf of a
 class of all other persons similarly situated, Case No.

                         Plaintiff,

 v.

 GREATBANC TRUST COMPANY,

                         Defendant.


                                          COMPLAINT

       Plaintiff Michael V. McMaken, by his undersigned attorneys, on behalf of the Chemonics

International, Inc. Employee Stock Ownership Plan and similarly situated participants in the Plan,

and their beneficiaries, alleges upon personal knowledge, the investigation of his counsel, and

upon information and belief as to all other matters, as to which allegations he believes substantial

evidentiary support will exist after a reasonable opportunity for further investigation and

discovery, as follows:

                                        BACKGROUND

       1.      Plaintiff Michael V. McMaken (“Plaintiff”) brings this suit against GreatBanc Trust

Company (“GreatBanc”), the trustee for the Chemonics International, Inc. Employee Stock

Ownership Plan (the “Plan”) when the Plan acquired shares of Chemonics International, Inc.

(“Chemonics”) on July 7, 2011.

       2.      Plaintiff is a participant in the Plan and is vested in shares of Chemonics allocated

to his account in the Plan.



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       3.      This action is brought under Sections 406, 409, and 502(a) of the Employee

Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1106, 1109, and

1132(a), for losses suffered by the Plan, and other relief, caused by GreatBanc when it authorized

the Plan to buy shares of Chemonics for more than fair market value.

       4.      As alleged below, the Plan has been injured and its participants have been deprived

of hard-earned retirement benefits resulting from GreatBanc’s violations of ERISA’s prohibited

transaction rules.

       5.      Chemonics is and was at all relevant times a privately-held company and the Plan’s

sponsor. The Plan was adopted effective January 1, 2001, and held a minority interest in

Chemonics until July 7, 2011. On July 7, 2011, the Plan purchased from party in interest sellers—

shareholders who included Chemonics directors and officers (the “Sellers”)—the remaining

792,942 outstanding shares of Chemonics common stock for an aggregate price of $216,124,272,

of which 18,344 shares were purchased outright and 774,598 shares were financed by the Sellers

with a note that bore 3.86% interest per annum and was to be repaid over a 20 year period (the

purchase and loan transactions together, the “ESOP Transaction” or “Transaction”). At that time,

Chemonics became 100% employee owned.

       6.      GreatBanc represented the Plan and its participants as Trustee in the ESOP

Transaction. It had sole and exclusive authority over whether to go through with the ESOP

Transaction.

       7.      The ESOP Transaction allowed the Sellers to unload their interests in Chemonics

at an inflated price, and saddle Plan participants with millions of dollars of debt to finance the

Transaction. GreatBanc failed to fulfill its duties as Trustee to the Plan and Plan participants,

including Plaintiff.



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       8.      Plaintiff brings this action to recover the losses incurred by the Plan, and thus by

each individual account in the Plan held by him and similarly situated participants, resulting from

GreatBanc’s engaging in, and causing the Plan to engage in, prohibited transactions under ERISA.

                                 JURISDICTION AND VENUE

       9.      This action arises under Title I of ERISA, 29 U.S.C. §§ 1001–1191c, and is brought

by Plaintiff under ERISA § 502(a), 29 U.S.C. § 1132(a), to enjoin acts and practices that violate

the provisions of Title I of ERISA, to require GreatBanc to make good to the Plan losses resulting

from its violations of ERISA, to restore to the Plan any profits that have been made by breaching

fiduciaries and parties in interest through the use of Plan assets, and to obtain other appropriate

equitable and legal remedies in order to redress violations and enforce the provisions of ERISA.

       10.     This Court has subject matter jurisdiction over this action pursuant to ERISA

§ 502(e)(1), 29 U.S.C. § 1132(e)(1).

       11.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because Defendant GreatBanc is headquartered in this District and because some of

the events or omissions giving rise to the claims occurred in this District.

                                             PARTIES

       12.     Plaintiff Michael V. McMaken has been a Plan participant, as defined in ERISA

§ 3(7), 29 U.S.C. § 1002(7), at all relevant times. Plaintiff McMaken resides in Fredericksburg,

Virginia. Plaintiff McMaken was the Director of Safety and Security at Chemonics. He is vested

in shares of Chemonics in his Plan account.

       13.     Defendant GreatBanc is one of the largest independent trust companies in the

nation. Its headquarters is at 801 Warrenville Road, Suite 500, Lisle, Illinois 60532. GreatBanc is




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a subsidiary of U.S. Fiduciary Services, Inc., which is also headquartered at 801 Warrenville Road,

Suite 500, Lisle, Illinois 60532.

       14.     Defendant GreatBanc was the Trustee of the Plan at the time of and for the ESOP

Transaction. As Trustee, GreatBanc had exclusive discretion to authorize the ESOP Transaction.

       15.     GreatBanc at all relevant times was a “fiduciary” within the meaning of ERISA

§ 3(21)(A), 29 U.S.C. § 1002(21)(A), because it was the Trustee, within the meaning of ERISA

§ 403(a), 29 U.S.C. § 1103(a), and because it exercised discretionary authority or discretionary

control respecting management of the Plan, and/or exercised authority or control respecting

management or distribution of the Plan’s assets, and/or had discretionary authority or discretionary

responsibility in the administration of the Plan.

       16.     GreatBanc was a party in interest to the Plan under ERISA § 3(14), 29 U.S.C.

§ 1002(14), at all relevant times.

       17.     GreatBanc’s power and authority does not include the power and authority to

interpret the terms of the written Plan document.

                                     FACTUAL ALLEGATIONS

       18.     Headquartered in Washington, D.C., Chemonics bills itself as “an international

development company that combines broad regional experience with technical depth and

unparalleled management skill.” Chemonics was at all relevant times a privately held entity.

       19.     Chemonics is headquartered at 1717 H Street, NW, Washington D.C. 20006.

       20.     Chemonics is and has been an S corporation at all relevant times.

       21.     Chemonics stock is not readily tradable on an established securities market.

       22.     Chemonics adopted the Plan with an effective date of January 1, 2001.




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       23.     The Plan is a pension plan within the meaning of ERISA § 3(2), 29 U.S.C.

§ 1002(2), and is subject to ERISA pursuant to ERISA § 4(a)(1), 29 U.S.C. § 1003(a)(1).

       24.     Chemonics identified the Plan as intended to be a leveraged employee stock

ownership plan, or “Leveraged ESOP.” The Plan was designed to invest primarily in the employer

securities of Chemonics.

       25.     The Plan’s principal asset was at all times Chemonics stock.

       26.     The Plan is an individual account plan under which a separate individual account

was established for each participant.

       27.     Chemonics is the sponsor of the Plan within the meaning of ERISA § 3(16)(B),

29 U.S.C. § 1002(16)(B).

       28.     Employees of Chemonics participate in the Plan.

       29.     Chemonics is the Plan’s administrator within the meaning of ERISA § 3(16)(A),

29 U.S.C. § 1002(16)(A).

       30.     Chemonics is and was an ERISA fiduciary to the Plan as its administrator.

       31.     Chemonics is and was a provider of services to the Plan as its administrator.

       32.     Chemonics is a party in interest to the Plan under ERISA § 3(14), 29 U.S.C.

§ 1002(14).

       33.     Chemonics appointed GreatBanc as Trustee of the Plan. As Trustee, GreatBanc had

sole and exclusive authority to approve the ESOP Transaction on behalf of the Plan, including the

price the Plan paid for Chemonics stock.

       34.     Note 9 to the Financial Statements to the Plan’s Form 5500 Annual Return/Report

states that the Plan was amended on March 31, 2011, “to clarify and modify the responsibilities of




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the Plan Sponsor, Administrative Committee and the Trustee in the administration of the Plan and

the investment of the Plan’s assets effective September 1, 2010.”

          35.   Note 9 to the Financial Statements to the Plan’s Form 5500 Annual Return/Report

states that the Plan was retroactively amended on September 15, 2011 “to clarify the Trustee’s

responsibilities related to the July 7, 2011, stock purchase and the voting of the Plan’s Company

stock.”

          36.   As Trustee for the Plan, it was GreatBanc’s exclusive duty to ensure that any

transactions between the Plan and the Sellers, including acquisitions of Chemonics stock by the

Plan and loans to the Plan, were fair and reasonable and to ensure that the Plan paid no more than

fair market value.

          37.   On July 7, 2011, the Plan purchased from the Sellers 792,942 shares of Chemonics

common stock for an aggregate price of $216,124,272, of which 18,344 shares were purchased

outright and 774,598 shares were financed by the Sellers, with a note that bore 3.86% interest per

annum and was to be repaid over a 20-year period.

          38.   The Plan had also purchased stock from former shareholders in smaller transactions

earlier in 2011.

          39.   With the ESOP Transaction on July 7, 2011, Chemonics became a 100% employee

owned company. Plan participants, including Plaintiff, received allocations to their individual

accounts at the end of the Plan Year, on December 31, 2011.

          40.   The Sellers were the shareholders of Chemonics stock, who included directors and

officers of the company.

          41.   Note 7 to the Financial Statements to the Plan’s Form 5500 Annual Return/Report

reports that the Sellers were “related parties.”



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       42.     Plaintiff further alleges that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or

discovery. Eijk (or Eyk) Van Otterloo, Richard Dreiman, Ashraf W. Rizk, Susanna Mudge, Eric

Howell, Barbara C. Teele and/or other directors and officers of Chemonics were the Sellers and at

the time of the ESOP Transaction were parties in interest to the Plan under ERISA § 3(14),

29 U.S.C. § 1002(14), as directors, officers, and/or 10 percent or more shareholders, directly or

indirectly, of Chemonics.

       43.     Plaintiff further alleges that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or

discovery. The Plan paid a control premium for Chemonics even though the Plan did not obtain

control over Chemonics upon its purchase of the company, as Sellers continued to control the

Board of Directors. Eijk Van Otterloo, formerly the largest shareholder, continued as Chairman of

the Board after the ESOP Transaction; his wife, Rose-Marie Van Otterloo, continued in her

position as Director; and other Sellers and their Chemonics employees continued to serve as

Directors and officers. Further, the Plan did not receive a discount for lack of control. The Plan

therefore overpaid for Chemonics stock. As Trustee, GreatBanc is subject to liability for a payment

by the Plan of more than fair market value for Chemonics stock caused by the Plan’s payment of

a control premium where the previous owners retained control of Chemonics, the Plan’s failure to

receive a discount for lack of control, and/or other factors in GreatBanc’s faulty valuation of

Chemonics stock in the ESOP Transaction.

       44.     Plaintiff further alleges that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or

discovery. GreatBanc did not perform due diligence similar to the due diligence that is performed



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by third-party buyers in large corporate transactions in the course of the ESOP Transaction. The

Plan overpaid for Chemonics stock in the ESOP Transaction due to GreatBanc’s reliance on

unrealistic growth projections, unreliable or out-of-date financials, improper discount rates,

inappropriate comparable companies, and/or its failure to test assumptions, failure to question or

challenge underlying assumptions, and/or other factors that rendered its valuation of Chemonics

stock in the ESOP Transaction faulty.

        45.     GreatBanc is liable to the Plan for the difference between the price paid by the Plan

and the actual value of Chemonics shares at the time of the ESOP Transaction.

                                      CLAIMS FOR RELIEF

                                              COUNT I

               Causing and Engaging in Prohibited Transactions Forbidden by
                        ERISA § 406(a)–(b), 29 U.S.C. § 1106(a)–(b)

        46.     Plaintiff incorporates the preceding paragraphs as though set forth herein.

        47.     ERISA § 406(a)(1)(A), 29 U.S.C. § 1106(a)(1)(A), prohibits a plan fiduciary, here

GreatBanc, from causing a plan, here the Plan, to engage in a sale or exchange of any property,

here Chemonics stock, with a party in interest, here the Sellers, as took place in the ESOP

Transaction.

        48.     ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B), prohibits GreatBanc from

causing the Plan to borrow money from a party in interest, here the Sellers, as took place in the

ESOP Transaction.

        49.     ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), prohibits GreatBanc from

causing the Plan to engage in a transaction that constitutes a direct or indirect transfer to, or use by

or for the benefit of, a party in interest, here the Sellers, of any assets of the ESOP, as took place




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in and after the ESOP Transaction with the transfer of Plan assets as payment for Chemonics stock

and in continuing payments on the loan.

        50.     The stock and loan transactions between the Plan and the parties in interest were

authorized by GreatBanc in its capacity as Trustee for the Plan.

        51.     GreatBanc caused the Plan to engage in prohibited transactions in violation of

ERISA § 406(a), 29 U.S.C. § 1106(a), in the ESOP Transaction.

        52.     ERISA § 406(b), 29 U.S.C. § 1106(b), inter alia, mandates that a plan fiduciary

shall not “act in any transaction involving the plan on behalf of a party (or represent a party) whose

interests are adverse to the interests of the plan or the interests of its participants,” or “receive any

consideration for his own personal account from any party dealing with such plan in connection

with a transaction involving the assets of the plan.”

        53.     GreatBanc acted on behalf of the Sellers in connection with the Plan’s stock and

loan transactions in the ESOP Transaction by causing the Plan to acquire Chemonics stock from

the Sellers at an inflated price and a loan from the Sellers that was used to pay the Sellers. This

greatly benefited the Sellers to the substantial detriment of the Plan, even though GreatBanc was

required to serve the interests of the Plan in connection with any such transaction.

        54.     GreatBanc received compensation from Chemonics as Trustee for the Plan in the

ESOP Transaction in violation of ERISA § 406(b)(3).

        55.     GreatBanc caused and engaged in prohibited transactions in violation of ERISA

§ 406(b) in the ESOP Transaction.

        56.     ERISA § 409, 29 U.S.C. § 1109, provides, inter alia, that any person who is a

fiduciary with respect to a plan and who breaches any of the responsibilities, obligations, or duties

imposed on fiduciaries by Title I of ERISA shall be personally liable to make good to the plan any



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losses to the plan resulting from each such breach, and additionally is subject to such other

equitable or remedial relief as the court may deem appropriate, including removal of the fiduciary.

        57.     ERISA § 502(a), 29 U.S.C. § 1132(a), permits a plan participant to bring a suit for

relief under ERISA § 409 and to obtain appropriate equitable relief to enforce the provisions of

Title I of ERISA or to enforce the terms of a plan.

        58.     GreatBanc has caused losses to the Plan by the prohibited transactions in an amount

to be proved specifically at trial.

                                CLASS ACTION ALLEGATIONS

        59.     Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23(a) and

(b), on behalf of the following class:

                All participants in the Chemonics International, Inc. Employee
                Stock Ownership Plan from July 7, 2011 to present and the
                beneficiaries of such participants. Excluded from the Class are the
                shareholders who sold their Chemonics International, Inc.
                (“Chemonics”) stock to the Plan on July 7, 2011, and their
                immediate families; the directors of Chemonics; and legal
                representatives, successors, and assigns of any such excluded
                persons.

        60.     The Class is so numerous that joinder of all members is impracticable. Although

the exact number and identities of Class members are unknown to Plaintiff at this time, the Plan’s

Form 5500 filing for 2015 indicates that as of December 31, 2015, there were 2,454 participants

and deceased participants whose beneficiaries were receiving or entitled to receive benefits in the

Plan.

        61.     Questions of law and fact common to the Class as a whole include, but are not

limited to, the following:

                    i. Whether GreatBanc served as Trustee in the Plan’s acquisition of

                        Chemonics stock;

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                  ii. Whether GreatBanc was an ERISA fiduciary of the Plan;

                  iii. Whether GreatBanc caused the Plan to engage in prohibited transactions

                       under ERISA by permitting the Plan to purchase Chemonics stock and take

                       a loan from parties in interest;

                  iv. Whether GreatBanc engaged in a good faith valuation of the Chemonics

                       stock in connection with the ESOP Transaction;

                   v. Whether GreatBanc caused the Plan to pay more than fair market value for

                       Chemonics stock;

                  vi. Whether GreatBanc engaged in a prohibited transaction under ERISA by

                       acting on behalf of a party adverse to the Plan and its participants in the

                       ESOP Transaction;

                 vii. Whether GreatBanc engaged in a prohibited transaction under ERISA by

                       receiving consideration for its own account in the ESOP Transaction;

                viii. Whether the sellers of Chemonics stock to the Plan were parties in interest;

                  ix. The amount of losses suffered by the Plan and its participants as a result of

                       GreatBanc’s ERISA violations; and

                   x. The appropriate relief for GreatBanc’s violations of ERISA.

       62.     Plaintiff’s claims are typical of those of the Class. For example, Plaintiff, like other

Plan participants in the Class, suffered a diminution in the value of his Plan account because the

Plan paid an inflated price and took on excessive loans for Chemonics stock, resulting in him being

allocated fewer shares of stock, and he continues to suffer such losses in the present because

GreatBanc failed to correct the overpayment by the Plan in its time thereafter as Trustee.




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         63.    Plaintiff will fairly and adequately represent and protect the interests of the Class.

Plaintiff has retained counsel competent and experienced in complex class actions, ERISA, and

employee benefits litigation.

         64.    Class certification of Plaintiff’s Claims for Relief for the alleged violations of

ERISA is appropriate pursuant to Fed. R. Civ. P. 23(b)(1) because the prosecution of separate

actions by individual Class members would create a risk of inconsistent or varying adjudications

which would establish incompatible standards of conduct for GreatBanc, and/or because

adjudications with respect to individual Class members would as a practical matter be dispositive

of the interests of non-party Class members.

         65.    In the alternative, class certification of Plaintiff’s Claims for Relief for the alleged

violations of ERISA is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because GreatBanc has

acted or refused to act on grounds generally applicable to the Class, making appropriate declaratory

and injunctive relief with respect to Plaintiff and the Class as a whole. The members of the Class

are entitled to declaratory and injunctive relief to remedy GreatBanc’s violations of ERISA.

         66.    The names and addresses of the Class members are available from Defendant and

the Plan. Notice will be provided to all members of the Class to the extent required by Fed. R. Civ.

P. 23.

                                     PRAYER FOR RELIEF

         Wherefore, Plaintiff prays for judgment against Defendant and for the following relief:

         A.     Declare that Defendant GreatBanc caused the Plan to engage in and itself engaged

                in prohibited transactions and thereby breached its duties under ERISA;

         B.     Enjoin Defendant GreatBanc from further violations of ERISA and its

                responsibilities, obligations, and duties;



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  C.    Order that Defendant GreatBanc make good to the Plan and/or to any successor

        trust(s) the losses resulting from its breaches of ERISA and restore any profits it

        has made through use of assets of the Plan;

  D.    Order that Defendant GreatBanc provide other appropriate equitable relief to the

        Plan and its participants and beneficiaries, including but not limited to surcharge,

        providing an accounting for profits, and imposing a constructive trust and/or

        equitable lien on any funds wrongfully held by Defendant GreatBanc;

  E.    Order the proceeds of any recovery for the Plan to be allocated to the accounts of

        the class members to make them whole for any injury that they suffered as a result

        of the breaches of ERISA in accordance with the Court’s declaration;

  F.    Order the allocation to the accounts of the class members of the additional shares

        of stock that would have been allocated but for the Plan’s overpayment on company

        stock and Defendant GreatBanc’s breaches of ERISA;

  G.    Award Plaintiff reasonable attorneys’ fees and costs of suit incurred herein pursuant

        to ERISA § 502(g), 29 U.S.C. § 1132(g), and/or for the benefit obtained for the

        common fund;

  H.    Order Defendant GreatBanc to disgorge any fees it received in conjunction with its

        services as Trustee for the Plan as well as any earnings and profits thereon;

  I.    Order Defendant GreatBanc to pay prejudgment interest;

  J.    Certify this action as a class action pursuant to Fed. R. Civ. P. 23, certify the named

        Plaintiff as class representative and his counsel as class counsel; and

  K.    Award such other and further relief as the Court deems equitable and just.




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Dated: July 5, 2017                          Respectfully submitted,

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